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EXHIBIT “D” TO CLASS SETTLEMENT AGREEMENT
Investment Instructions

Pursuant to and in accordance with Section 4 of the Escrow Agreement, the Escrow
Agent is hereby directed to invest and reinvest the Escrow Funds as follows:

1. With respect to amounts on deposit in Sub-Account 1, use all of such funds other than
$29,000.00 to purchase United States Treasury Bills with a maturity of one year. The
$29,000.00 not used to purchase the United States Treasury Bills is to remain un-invested;

2, With respect to amounts on deposit in Sub-Account 2, use all of such funds other than
$72,500.00 to purchase United States Treasury Bills with a maturity of one year. The

$72,500.00 not used to purchase the United States Treasury Bills is to remain un-invested;
and

3. With respect to amounts on deposit in Sub-Account 3, use all of such funds other than
$145,000.00 to purchase United States Treasury Bills with a maturity of one year. The
$145,000.00 not used to purchase the United States Treasury Bills is to remain un-invested.

EXHIBIT

NO.99913690.1

